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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             CONSOLIDATED ACTION
                                            Case No. 18-62758-CIV-DIMITROULEAS
                                            Case No. 19-61623-CIV-DIMITROULEAS
                                            Case No. 20-60303-CIV-DIMITROULEAS
                                            Case No. 20-60306-CIV-DIMITROULEAS
                                            Case No. 20-60307-CIV-DIMITROULEAS
                                            Case No. 20-60308-CIV-DIMITROULEAS
                                            Case No. 20-60310-CIV-DIMITROULEAS
                                            Case No. 20-60311-CIV-DIMITROULEAS
                                            Case No. 20-60317-CIV-DIMITROULEAS
                                            Case No. 20-60319-CIV-DIMITROULEAS
                                            Case No. 20-60322-CIV-DIMITROULEAS
                                            Case No. 20-60325-CIV-DIMITROULEAS
                                            Case No. 20-60326-CIV-DIMITROULEAS
                                            Case No. 20-60327-CIV-DIMITROULEAS
                                            Case No. 20-60328-CIV-DIMITROULEAS
                                            Case No. 20-60330-CIV-DIMITROULEAS
                                            Case No. 20-60331-CIV-DIMITROULEAS
                                            Case No. 20-60332-CIV-DIMITROULEAS
                                            Case No. 20-60333-CIV-DIMITROULEAS
                                            Case No. 20-60481-CIV-DIMITROULEAS
                                            Case No. 20-60483-CIV-DIMITROULEAS
                                            Case No. 20-61088-CIV-DIMITROULEAS
                                            Case No. 20-61103-CIV-DIMITROULEAS
                                            Case No. 20-61894-CIV-DIMITROULEAS
                                            Case No. 20-61895-CIV-DIMITROULEAS
                                            Case No. 20-61896-CIV-DIMITROULEAS
                                            Case No. 20-61919-CIV-DIMITROULEAS
                                            Case No. 20-62470-CIV-DIMITROULEAS
                                            Case No. 20-62471-CIV-DIMITROULEAS
                                            Case No. 20-62472-CIV-DIMITROULEAS
                                            Case No. 20-62473-CIV-DIMITROULEAS
                                            Case No. 20-62476-CIV-DIMITROULEAS
                                            Case No. 20-62485-CIV-DIMITROULEAS
                                            Case No. 20-62486-CIV-DIMITROULEAS
                                            Case No. 20-62487-CIV-DIMITROULEAS
                                            Case No. 20-62497-CIV-DIMITROULEAS
                                            Case No. 20-62508-CIV-DIMITROULEAS
                                            Case No. 20-62509-CIV-DIMITROULEAS
                                            Case No. 20-62513-CIV-DIMITROULEAS
                                            Case No. 20-62516-CIV-DIMITROULEAS
                                            Case No. 20-62525-CIV-DIMITROULEAS
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   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   ______________________________________/


                     ORDER ON JOINT MOTION FOR CLARIFICATION
                        OF ORDER ON NOTICE OF SETTLEMENT

          THIS CAUSE came before the Court on the Joint Motion for Clarification of Order on

   Notice of Settlement, filed on November 23, 2021. [DE 410]. The Court has carefully considered

   the Motion and the record, and is otherwise fully advised in the premises.

          Accordingly, it is hereby ORDERED AND ADJUDGED that the Joint Motion for

   Clarification of Order on Notice of Settlement [DE 410] is hereby GRANTED IN PART AND

   DENIED IN PART as follows:

          1. In light of the settlement, the Court will continue the January 28, 2022 calendar call,

              the January 31, 2022 bench trial, and the remaining pre-trial deadlines to provide the

              parties with time to obtain the necessary approvals of the settlement and to submit the

              appropriate dismissal documents.

          2. Calendar call is RESET for 10:00 a.m. on Friday, February, February 25, 2022.

          3. The bench trial RESET to commence on Monday, February 28, 2022.

          4. The deadlines set forth in the Court’s Scheduling Order are amended as follows:

              Expert rebuttal reports                  30 days after due under Fed. R. Civ. P. 26
              under Fed. R. Civ. P. 26

              Plaintiffs’ Expert Disclosure                                     January 7, 2022
              Deadline for Liability Experts

              Discovery responses due from the United States                    January 7, 2022

              Mandatory Pretrial Stipulation                                    February 11, 2022

              Motions in Limine                                                 February 11, 2022
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              Responses to Motions in Limine                                  February 18, 2022

              Proposed Findings & Conclusions                                 February 18, 2022

              Exhibit List for Court                   First day of Trial (impeachment excepted)

              Witness List for Court                   First day of Trial (impeachment excepted)

      5. The Court will consider resetting any additional deadlines, if necessary, upon the filing of

      a joint status report on or before December 20, 2021 (in the event a joint stipulation(s) of

      dismissal have not been filed by that date).

          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida this

   24th day of November, 2021.




   Copies furnished to:
   Counsel of record
